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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION
ROBERT MERCED,

       Plaintiff,

v.                                                                   Case No: 8:20-cv-587-T-02SPF

NOVARTIS PHARMACEUTICALS
CORPORATION,

      Defendant.
___________________________________

                         CASE MANAGEMENT AND SCHEDULING ORDER

          This cause came on for consideration concerning completion of discovery and the scheduling of
 pretrial procedures and trial. The Court has considered the positions of the parties as set forth in their Case
 Management Report, and hereby enters the following scheduling and case management requirements
 whose provisions are very precise and shall be strictly adhered to. Accordingly, it is ORDERED:

        1.   Parties are directed to meet the deadlines below:

               Third Party Joinder/Amend Pleading               September 29, 2020/May 11, 2021
               Plaintiff Expert Disclosure                      July 12, 2021
               Defendant Expert Disclosure                      August 9, 2021
               Discovery Cut-Off                                September 8, 2021
               Mediator Selection/Scheduling due by             September 10, 2021
               Conduct Mediation by                             October 11, 2021
               Dispositive Motion filing                        October 12, 2021
               Pretrial Statement due                           December 2, 2021

        2.   Parties are further directed to meet the pretrial disclosure requirements and deadlines in
             Fed.R.Civ.P. 26(a)(3) and to adhere timely to all requirements in Local Rule 3.06 concerning
             Final Pretrial Procedures, as supplemented herein at ¶ 5. Parties are advised to review the
             amendments to the Rules of Civil Procedure regarding discovery, which became
             effective December 1, 2015.

        3.   This case is referred to court-annexed mediation in accordance with the rules governing
             mediation set forth in Chapter Nine of the Local Rules. The parties shall select a Mediator and
             counsel for Plaintiff is designated as Lead Counsel to coordinate the scheduling of mediation.
             The list of certified mediators is available in the Clerk’s Office or on the internet at
             www.flmd.uscourts.gov under “Attorney Resources.” The list is not exclusive, and any
             certified mediator is permissible. Lead counsel must file a Notice of Mediator Selection and
             Scheduling of Mediation which (a) identifies the selected Mediator and includes address,
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       telephone, and facsimile information, and (b) sets for the time, date, and place for the
       mediation conference by the above-designated date. If the parties fail to select a Mediator or
       do not notify the Court of such selection by the above-designated date, the Court will sua
       sponte and without further notice select an individual to serve as Mediator and issue the
       appointment. The mediation conference may be conducted any time on or before the above-
       designated date.

  4.   Parties will please note that motions to amend any pleading or a motion for continuance of
       any pretrial conference, hearing or trial filed after issuance of this Case Management and
       Scheduling Order are disfavored. See Local Rules 3.05(c)(2)(E) and 3.05(c)(3)(D).

  5.   The parties may depose up to 15 fact witnesses without leave of Court.

  6.   A Pretrial Conference will be held before the undersigned in Courtroom 15B, 801 North
       Florida Avenue, Tampa, Florida, on December 9, 2021, at 9:00 AM. Parties are directed
       to meet the pretrial disclosure requirements and deadlines in Fed. R. Civ. P. 26(a)(3) and to
       adhere to all requirements in Local Rule 3.06 concerning final pretrial procedures. The parties
       shall file a JOINT Pretrial Statement on the above-referenced date. Failure to do so may result
       in the imposition of sanctions. The Pretrial Conference shall be attended by counsel who
       will act as lead trial counsel in the case and who is vested with full authority to make and
       solicit disclosure and agreements touching all matters pertaining to the trial.
  7.   This case is set for Jury Trial during the term commencing January 3, 2022, before the
       undersigned. This January trial term shall include the entire month. Estimated length of trial:
       14 days.

  8.   SUMMARY JUDGMENT PROCEDURES: The following procedures shall be followed
       by the parties:

         (a)     A party’s claims or defenses for which summary judgment is sought shall be
                 presented in a single motion and incorporated memorandum of law which, absent
                 prior permission of the Court, shall not exceed twenty-five (25) pages total.
                 Multiple motions for summary judgment will not be permitted. A violation of any
                 of these directives will result in the Court sua sponte striking a party’s motion for
                 summary judgment and incorporated memorandum of law without notice. Any
                 record citations should be to page and line of the filed materials.

         (b)     Prior to filing a motion for summary judgment, the moving party shall confer in
                 good faith with the party or parties against who summary judgment is sought for
                 the purpose of narrowing the factual issues in dispute. A party by separate pleading
                 filed contemporaneously with the motion for summary judgment and incorporated
                 memorandum of law shall certify that such a conference has taken place and that
                 the parties were or were not able to agree on a narrowing of the factual issues in
                 dispute. Unless the parties are in full agreement as to the undisputed facts, the
                 movant shall file a separate "Statement of Undisputed Facts"(not exceeding 20
                 pages in length), with citations to the record, which shall accompany the motion for
                 summary judgment.
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          (c)     Any party opposing a summary judgment motion shall file a memorandum of law
                  in opposition no later than the time allotted pursuant to Local Rule 3.01(b). To the
                  extent that the party opposing a motion for summary judgment disputes any facts
                  asserted in the motion, a separate "Statement of Disputed Facts"(not exceeding
                  20 pages in length), with citations to the record, shall accompany the memorandum
                  in opposition. All material facts set forth by the moving party shall be deemed
                  admitted unless controverted by a separate Statement of Disputed Facts.

          (d)     Pursuant to Rule 56(c), Fed.R.Civ.P., as interpreted by the Eleventh Circuit Court
                  of Appeals, the parties are hereby put on notice that the Court will take any motion
                  for summary judgment and all materials in support or in opposition thereto under
                  advisement as of the last day of filing pleadings pertaining to the motion for
                  summary judgment, as that date is mandated by the rules of procedure or by order
                  of the Court. Failure to respond to a motion for summary judgment shall indicate
                  there is no opposition to the motion and may result in final judgment being entered
                  without a trial or other proceeding.

          (e)     Motions to extend time or to alter any requirements set forth in this order or the
                  other rules governing summary judgment motions, including the page limit for
                  memoranda of law pursuant to the Local Rules, are disfavored.

          (f)    Oral argument or hearings will generally not be held on the motion.

          (g)     A violation of any of these directives will result in the Court sua sponte striking a
                  party’s motion for summary judgment and incorporated memorandum of law
                  without notice.

  9.   For jury trials, not later than seven (7) days prior to the date on which the trial term is set to
       commence, the parties shall file with the Clerk of Court, the following:


          (a)   A complete set of all written Proposed Jury Instructions (which shall bear a cover
                sheet with the complete style of the case and appropriate heading designating the
                submitting party; there shall be no more than one instruction per page and contain,
                at the end of each such instruction, citation of authorities, if any); they shall be
                sequentially numbered and party-identified (e.g., Plaintiff's Requested Instruction
                No. 1). Counsel must email proposed jury instructions and verdict forms in
                Microsoft Word (.doc or .docx) or WordPerfect (.wpd) format to the chambers
                inbox without titles above each instruction or citations of authorities at the end of
                each instruction. Include the case number and case name in the subject line; and

          (b)   Proposed Verdict Form

  9.   The court conducts the initial voir dire examination. Counsel will have an opportunity to
       conduct follow-up.

  10. After the conclusion of the bench trial, the court will direct counsel for each party to file
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      proposed findings of fact and conclusions of law (usually 30 days after the trial). The proposed
      findings of fact and conclusions of law must be emailed to the chambers inbox in Microsoft
      Word (.doc or .docx) or WordPerfect (.wpd) format.


   DONE AND ORDERED in Tampa, Florida, on June 8, 2020.
